      2:18-cv-03123-BHH          Date Filed 04/13/20      Entry Number 69        Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

                                                      §
 BRUCE BERG, AS HEIR TO BENJAMIN                      §
 KATZ, A PARTNER IN FIRMA D. KATZ                     §
                                                      §     Case No. 2:18-CV-3123-BHH
          Plaintiff,                                  §
                                                      §
 v.                                                   §
                                                      §
 KINGDOM OF THE NETHERLANDS et al.,                   §
                                                      §
          Defendants.                                 §


                          PLAINTIFF’S REPLY IN SUPPORT OF
                        MOTION TO ALTER OR AMEND JUDGMENT
         Plaintiff, Bruce Berg, as an heir to Benjamin Katz, a partner in Firma D. Katz (hereinafter

“Plaintiff”), submits this reply in support of his motion to alter or amend its order and judgment,

as authorized by Federal Rule of Civil Procedure 59(e), as explained below.

                I.      Plaintiff Properly Presented Newly Discovered Evidence.

         1.      Contrary to Defendants’ argument, Plaintiff has submitted “evidence [that] is newly

discovered since the judgment was entered.” Boryan v. United States, 884 F.2d 767, 777 (4th Cir.

1989).

         2.      While it is true that evidence “available . . . prior to entry of judgment” is not a

proper basis for a Rule 59(e) motion, Plaintiff’s evidence postdates the Court’s judgment of March

6, 2020. Plaintiff’s new evidence is not the facts underlying his appointment, but his actual

appointment as personal representative of Benjamin Katz’s estate, which did not occur until March

11, 2020.



                                                  1
      2:18-cv-03123-BHH         Date Filed 04/13/20       Entry Number 69       Page 2 of 6




        3.      Plaintiff’s new evidence meets the requirements articulated by the Fourth Circuit

for a court to consider newly-discovered evidence presented in a Rule 59(e) motion: the evidence

was unavailable before judgment, and Plaintiff was justified in not presenting it before judgment.

See Zinkand v. Brown, 478 F.3d 634, 637 (4th Cir. 2007).             First, evidence of Plaintiff’s

appointment as estate administrator was previously unavailable, as noted above, because he was

not appointed as estate representative until March 11, 2020. Second, Plaintiff was justified in not

presenting that evidence before judgment because it did not yet exist.

        4.      Defendants contend that Plaintiff’s counsel should have discovered the facts

underlying Plaintiff’s appointment as estate representative earlier and should have sought and

obtained that appointment earlier, but this is not the issue. The question is whether Plaintiff and

his counsel did not have and justifiably did not present the evidence of Plaintiff’s appointment as

estate representative before judgment—not the basis for that appointment.           Indeed, it was

impossible for the newly-discovered evidence at issue to be presented before judgment because it

did not yet exist.

        5.      Plaintiff has submitted newly discovered evidence which was unavailable earlier

and justifiably not submitted before judgment, which a proper basis for a Rule 59(e) motion. Id.

               II.    Plaintiff and his Counsel Acted with Reasonable Diligence

        6.      Defendants also contend that Plaintiff and his counsel did not act with diligence in

securing Plaintiff’s appointment as the personal representative of Benjamin Katz’s estate.

Defendants argue that the seven days which passed between the Court’s hearing on March 3, 2020

and Plaintiff’s appointment on March 11, 2020 evince a lack of reasonable diligence that makes

that evidence improper for a Rule 59(e) motion. See Defs.’ Joint. Opp. To Pl.’s Mot. to Alter or

Amend J. (Apr. 6, 2020) (hereinafter “Defs.’ Opp.”) (ECF No. 68), at 6 n.3.
                                               2
      2:18-cv-03123-BHH         Date Filed 04/13/20       Entry Number 69        Page 3 of 6




       7.      The question is whether Plaintiff “could not with reasonable diligence have

discovered and produced” the evidence at issue (his appointment as estate representative). Boryan,

884 F.2d at 771.

       8.      Again, the question is not whether Plaintiff and his counsel acted with diligence in

discovering the basis for Plaintiff’s appointment as estate representative, because that is not the

new evidence at issue. Plaintiff’s appointment is. This is because the facts underlying Plaintiff’s

appointment do not confer standing—Plaintiff’s actual appointment does. See Pl.’s Mem. in

Support of Mot. to Alter or Amend J. (Mar. 30, 2020) (hereinafter “Pl.’s Mem.”) (ECF No. 67-1)

¶¶ 25–32. Under South Carolina law, causes of action related to personal property survive to the

“personal representative” of a deceased, not to someone who can be appointed personal

representative but has not yet been appointed. S.C. Code Ann. § 15-5-90.

       9.      The simple fact is that Plaintiff was not yet estate representative at the time of the

motion to dismiss hearing and judgment in this matter. Plaintiff could not have presented evidence

that did not exist. The fact that it took a week for Plaintiff to secure appointment as estate

representative should not bar the Court’s consideration of that new evidence.

                     III.    Plaintiff’s New Evidence Relates to Standing

       10.     Defendants also contend that Plaintiff’s evidence speaks to capacity, and not to

standing. See Defs.’ Opp. (ECF No. 68) at 8. Defendants specifically claim that Plaintiff’s new

evidence “does not answer the question of whether Plaintiff himself inherited a right to pursue

claims of Firma D. Katz.” Defs.’ Opp. at 8 (emphasis in original).

       11.     Plaintiff’s theory of standing has changed based on his new evidence. Plaintiff’s

new evidence addresses the Court’s statement in its March 12 Order that “more is required” to


                                                 3
      2:18-cv-03123-BHH          Date Filed 04/13/20       Entry Number 69         Page 4 of 6




show standing than Plaintiff’s inheritance facts. Plaintiff’s standing argument is no longer based

on inheritance, but on his appointment as estate representative.

       12.     Plaintiff’s Memorandum in Support of his Motion to Alter or Amend Judgment

explains exactly how Plaintiff’s appointment as estate representative confers standing with regard

to the Artworks at issue, as property of Firma D. Katz. See Pl.’s Mem. (ECF No. 67-1) ¶¶ 28–32.

It appears that Defendants did not understand or overlooked this explanation. In short, Benjamin,

as a partner in Firma D. Katz, was injured when Firma Katz’s partnership property was taken in

violation of international law. Firma D. Katz ceased to exist, but causes of action related to its

partnership property accrue to Plaintiff as the legal representative of the estate of the deceased last

surviving partner in Firma D. Katz. See id.; S.C. Code §§ 15-5-90, 33-41-720(2)(d) (“on the death

of a partner his right in specific partnership property vests in the surviving partner or partners,

except when the deceased was the last surviving partner in which case his right in such property

vests in his legal representative”); S.C. Code Ann. § 33-41-920 (partnership does not terminate

upon dissolution). 1

                                         IV.     Conclusion

       13.     Plaintiff asks the Court to alter or amend its March 12, 2020 Order under Rule 59(e)

in order to prevent the manifest injustice that would result from not taking into account that


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  See also Werner v. Illinois Cent. Gulf R.R., 578 F. Supp. 384, 386–87 (E.D. La. 1984) (even
though sole partner died, partnership had standing to maintain suit for damages because state law
provided that it did not terminate upon dissolution, and because the partnership may have been
“the only proper party plaintiff to maintain an action for damage to partnership property.”);
McCormack v. Theo. Hamm Brewing Co., 284 F. Supp. 158, 161–62 (D. Minn. 1968) (former
partner had standing to bring suit in name of defunct partnership); Gowen v. Helly Nahmad
Gallery, Inc., 77 N.Y.S.3d 605, 621 (N.Y. Sup. Ct. 2018) (“Whether by virtue of an interest in [his
art gallery partnership] or simply as an individual, Oscar Stettiner was an injured party when the
Painting was confiscated by the Nazis. [Plaintiff, ancillary administrator of] The Estate of Oscar
Stettiner has standing to bring the claims.”).
                                                 4
      2:18-cv-03123-BHH          Date Filed 04/13/20      Entry Number 69         Page 5 of 6




Plaintiff has, in the meantime, been appointed personal representative of Benjamin Katz’s estate

and has met the “injury in fact” element of standing. See Pac. Ins. Co. v. Am. Nat’l Fire Ins. Co.,

148 F.3d 396, 403 (4th Cir. 1998) (Rule 59(e) motion is proper when brought to “prevent manifest

injustice”). Plaintiff’s request is also a proper basis for a Rule 59(e) motion because the change in

his status as personal representative is “new evidence” of his standing. Pac. Ins., 148 F.3d at 403.

       14.     Plaintiff requests that the Court alter its Order of March 12, 2020 (Doc. No. 64) to

reflect that Plaintiff has satisfied the “injury in fact” element of standing, in light of Plaintiff’s

appointment as personal representative of Benjamin Katz’s estate.

       15.     In the alternative, Plaintiff requests leave to amend his complaint in order to reflect

his standing to sue. If the Court grants Plaintiff leave to amend, he will submit a proposed amended

complaint.


Dated: April 13, 2020
                                                      Respectfully submitted,


                                                      /s/ Edward Paul Gibson___
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     2:18-cv-03123-BHH      Date Filed 04/13/20    Entry Number 69      Page 6 of 6




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                                               Benjamin Katz, a Partner in Firma D. Katz



                             CERTIFICATE OF SERVICE

       On April 13, 2020, a true and correct copy of the foregoing document was served on
counsel electronically through the Court’s CM/ECF system.

                                               _/s/ E. Paul Gibson_




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